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                        EXHIBIT 2

          PLAINTIFFS’ SUR-REPLY IN SUPPORT OF
              PLAINTIFFS’ OPPOSITION TO
           DEFENDANTS’ MOTION TO DISMISS
               COMPLAINT PURSUANT TO
                 FED. R. CIV. P. 12(B)(2)
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                                                      Channel Manager at SES-Imagotag


                                                      SES-imagotag



                                                      Naveen Jindal School of Management, UT Dallas

                                                      Flower Mound, Texas, United States · Contact info
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                                                      About
                                                      Specialties: Sales of mobile systems and services
                                                      Development of Service Program
                                                      Creative Solutions for customers




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                                                      innovative work with Westside Market NYC. Check out the exclusive article
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                                                                     progressivegrocer.com



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                                                                     See you in Vegas. Stop by our booth #1307 to see the solutions offered
                                                                     by VusionGroup.
                                                                     #esl #captana #engage

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                                                      Experience
                                                                  Sr. Channel Manager
                                                                  SES-imagotag · Full-time
                                                                  Mar 2022 - Present · 2 yrs 6 mos
                                                                  United States · Remote



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                                                                                        968
                                                               SES-Imagotag provides unique features to digitize retail starting with
                                                               Electronic
                                                               DatalogicShelf
                                                                          ADCLabels(ESL) to automate pricing and promotions to…see  boosti…
                                                                                                                                       more
                                                               17 yrs

                                                               South Central Channel Account Manager
                                                               Jan 2010 - Dec 2022 · 13 yrs
                                                               Flower Mound, TX

                                                                * Responsible for promoting and selling Datalogic products and services to
                                                               Partner/resellers and end users in territory.…                   …see more


                                                               Americas Service Marketing and Sales
                                                               Jan 2006 - Dec 2009 · 4 yrs

                                                               * Market current services
                                                               * Analyze current offering and make recommendations for improvements.…
                                                                                                                             …see more



                                                               Retail Service Development, Marketing & Sales
                                                               Dell
                                                               Oct 2002 - Oct 2005 · 3 yrs 1 mo

                                                               * Developed Services aimed at the Retail Industry for Dell's new Retail
                                                               offering (POS and beyond). …                                      …see more


                                                               Professional Services
                                                               NCR Corporation
                                                               1985 - 2002 · 17 yrs




                                                      Education
                                                               Naveen Jindal School of Management, UT Dallas
                                                               Executive MBA, International Business
                                                               1994 - 1996




                                                      Skills
                                                      Sales


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                                                      Sales Operations
                                                          Endorsed by 3 colleagues at Datalogic

                                                          24 endorsements


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                                                              Jake Heller
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                                                              Talent Acquisition Manager - Corporate at HomeServe USA

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